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                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies, pursuant to LCivR 7.1(D), that the foregoing

document has been prepared with one of the font and point selections (Times New

Roman, 14 point) approved by the Court in LCivR 5.1(B).

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                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that he, this 18th day of September, 2023, the

undersigned served the foregoing document by filing the document via the Court’s Case

Management/Electronic Case Filing (CM/ECF) system, which will automatically serve

notice of such filing on all attorneys of record.

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